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                                                                                 EXHIBIT 8523.R

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                                                                                EXHIBIT 8523.R-001
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●   Wendy




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                                                                                EXHIBIT 8523.R-002
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●   Yooki




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                                                                                EXHIBIT 8523.R-003
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●   Yooki




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                                                                                EXHIBIT 8523.R-004
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●   Yooki




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                                                                                EXHIBIT 8523.R-005
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●   Yooki




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                                                                                EXHIBIT 8523.R-006
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●   Yooki

●   Questions:
●   Timing for Jamie / Sameer meeting (will need help from Paul)
●   Try to have as needed meeting with Steering team


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                                                                                       EXHIBIT 8523.R-007
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●   Tim




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                                                                                EXHIBIT 8523.R-008
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●   Tim




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                                                                                EXHIBIT 8523.R-009
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●   Atul
●   AAA, Hi Fidelity games are most likely, because Play’s broad Android reach is less helpful to these games (e.g. focus on high-end
    devices for XX% revenue)
●   Casual games are less likely drivers as Play’s broad reach is more important (only XX% revenue on high end devices)



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                                                                                                        EXHIBIT 8523.R-010
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●   Atul                                                                   ●   Japan (3 carriers own 85% of market)
●   AAA, Hi Fidelity games are most likely, because Play’s broad Android         ○     NTT (some small overseas stakes, but mostly Japan)
    reach is less helpful to these games (e.g. focus on high-end devices         ○     KDDI (Mostly Japan)
    for XX% revenue)                                                             ○     Softbank (Lots of holdings in many tech companies, but Sprint is only
●   Casual games are less likely drivers as Play’s broad reach is more                 telco)
    important (only XX% revenue on high end devices)                       ●   Korea
●   Carriers                                                                     ○     SK Telcom (has subsidiaries in China and Vietnam)
●   US                                                                           ○     LG (no overseas telcom)
         ○ Single Country: Verizon                                               ○     KT (has some small subsidiaries in mongolia and a few eastern
         ○ Multi-country: T-Mo (deutch telecom), Sprint (Softbank),                    european countries)
         AT&T (owns some Latin American Telcos)
                                                                                                                    GOOG-PLAY-007329086.R
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●   Atul




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●   Stephen

●   50 of 100 games selected given is sufficiently big enough to be of note to Play, while still be plausible




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●   Stephen




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●   Yooki / Stephen




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●   FOP: Forms of Payment
●   A&G: Apps and Games
●   Store browsers: people who open the play store
●   Acquirers: people that download apps from the play store



                                                                                     GOOG-PLAY-007329101.R
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